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1    DANIEL J. BRODERICK, #89424
     Federal Defender
2    CARO MARKS, Bar #159267
     Senior Litigator
3    Designated Counsel for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
     Attorney for Defendant
6    RYAN SCOTT KERN
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,       )     No. Mag. No. 07-49 KJM
11                                   )
                    Plaintiff,       )
12                                   )     STIPULATION AND ORDER TO CONTINUE
          v.                         )     PRELIMINARY HEARING
13                                   )
     RYAN SCOTT KERN et al,          )
14                                   )     Date: October 2, 2007
                    Defendant.       )     Time: 2:00 p.m.
15                                   )     Judge: Kimberly J. Mueller
     _______________________________ )
16
17        Ryan Scott Kern, by and through his counsel, Caro Marks, Assistant
18   Federal Defender, Rahman Abul Shadebadi, by and through his counsel,
19   Peter Kmeto, and the United States Government, by and through its
20   counsel, William Wong, Assistant United States Attorney, hereby
21   stipulate and agree to vacate the previously scheduled preliminary
22   hearing date of August 21, 2007 and set a preliminary hearing date of
23   October 2, 2007 at 2:00 p.m..
24        A continuance is necessary to allow the parties to continue their
25   pretrial negotiations in an effort to settle the case pre-indictment.
26   Counsel for Mr. Kern has also subpoenaed documents from the state of
27   Nevada pertaining to Mr. Kern’s pending case in that jurisdiction to
28   determine the possibility of a global settlement.         Additional time is
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1    necessary to allow counsel to receive and review those documents and to
2    discuss a global settlement with the government.
3         IT IS STIPULATED that the period from the signing of this Order,
4    through and including October 2, 2007 be excluded in computing the time
5    within which trial must commence under the Speedy Trial Act, pursuant
6    to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, for ongoing
7    preparation of counsel.        It is further stipulated that the defendant’s
8    agrees to extend the time for their preliminary hearing pursuant to
9    Federal Rule of Criminal Procedure 5.1 (d).           The government fully
10   concurs with this request.
11   Dated:    August 9, 2007
12                                             Respectfully submitted,
13                                             DANIEL BRODERICK
                                               Federal Defender
14
                                               /s/ Caro Marks
15                                             ________________________
                                               CARO MARKS
16                                             Assistant Federal Defender
                                               Attorney for Defendant
17                                             RYAN SCOTT KERN
18                                             /s/ Peter Kmeto
     Dated: August 9, 2007                     __________________________
19                                             PETER KMETO
                                               Attorney at Law
20                                             Attorney for Defendant
                                               Rahman Abul Shadebadi
21
                                               MCGREGOR SCOTT
22                                             United States Attorney
23                                             /s/ William Wong
24                                             WILLIAM WONG
                                               Assistant U.S. Attorney
25
26   /////
27   /////
28   /////


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1                                           ORDER
2    IT IS SO ORDERED.
3    DATED: August 20, 2007.
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